          Case 1:08-cr-00224-LJO-DLB Document 525 Filed 07/23/10 Page 1 of 2


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 4
     Attorney for Defendant
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 7
 8                        IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )           No. CR-F 08-224-OWW
                                     )
12                  Plaintiff,       )           ORDER RE: DEFENDANT GARY
                                     )           ERMOIAN’S MOTION TO EXCLUDE
13        v.                         )           ANY STATEMENT OF HIS CO-
                                     )           DEFENDANTS THAT MENTIONS
14                                   )           ERMOIAN UNDER BRUTON v.
     GARY ERMOIAN, et. al.,          )           UNITED STATES, 391 U.S. 123 (1968)
15                                   )
                    Defendants.      )
16   _______________________________ )           Hon. Oliver W. Wanger
17
18         At a hearing on July 12, 2010, the Court heard, among other motions, defendant
19   Gary Ermoian’s motion to exclude any statement of co-defendants Swanson and Johnson
20   that mentions Ermoian under Bruton v. United States, 391 U.S. 123 (1968) (document
21   503), which was filed July 2, 2010. Assistant U.S. Attorneys Mark E. Cullers and Laurel
22   J. Montoya appeared for the government and attorney John Balazs appeared for Mr.
23   Ermoian. Attorney Carl Faller appeared for defendant Steven J. Johnson and attorney
24   Robert Forkner appeared for defendant Dave A. Swanson.
25         At the hearing, the Court asked the parties to submit the contested statements for the
26   Court’s review prior to ruling. Pursuant to the agreement of the parties, the Court hereby
27   adopts the following further schedule on the Bruton motion:
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     Case 1:08-cr-00224-LJO-DLB Document 525 Filed 07/23/10 Page 2 of 2


 1   Defendants’ supplemental brief with statements sought to be excluded
     is due July 21, 2010;
 2
     Government’s response is due July 28, 2010; and
 3
     Further hearing on the motion is set for August 2, 2010, at 2:30 p.m.
 4
 5   IT IS SO ORDERED.
 6   Dated: 7/22/2010
 7                                         /s/ OLIVER W. WANGER
                                           Hon. Oliver W. Wanger
 8                                         United States District Judge
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